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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                        )   Criminal   No.   3:18-MJ- 139 (TWD)
                                                 )
                                                 )   Stipulation and Order
                                                 )   for Enlargement of Time
 MAXIMILIEN REYNOLDS                             )
                                                 )
                                                 )
                Defendant.                       )


                                             STIPULATION


       The United States of America, by and through its counsel of record, the United States

Attorney for the Northern District of New Yorh and the defendant, Maximilien Reynolds, by and

through counsel, Kimberly Zimmer, hereby agree and stipulate that the time within which an

indictment must be filed under Title 18, United States Code, Section   3l6l(b),   be enlarged to and

including ninety (90) days from the date tho stipulation is signed and that such time be excluded,

pursuant to Title 18, United States Code, Section 3l6l(h)(7)(A), from the computation ofthe time

within which an indictment must be filed under the provisions of Title 18, United States Code,

Section 3161(b).

l)     The chronology ofthis case is as follows:

       a)     Date of comPlaint: March 15, 2018

       b)     Date   ofinitial appearance: March 16,2018

       c)     Defendant custody status: Dctained

       d)      Date United States moved for detention: March 16,2018

       e)      Date ofdetention hearing: (To be Scheduled)*

               * Defendant waived an immediate detention hearing and reserved his right to have

       a detention hearing bY the   Court'
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 2)      The United States and the defendant request this exclusion based on the following facts

 and circumstances: On March 16, 2018, the defendant made his initial appearance on a criminal

 complaint alleging four felony violations of law. At that time, t}re defendant provisionally waived

 his right to a detention hearing. (i.e, reserved right to request future detention hearing) Based upon

a motion by the defendant, on March 19, 2018, the Court ordered a psychiatric or psychological

examination     of the defendant be     conducted to determine his mental competency to proceed

pursuant to Title 18, United States Code, Section 4241(b) (Dkt.    No.7). The defendant    is currently

en route to a United States Bureau of Prisons facility for this examination. On March 16,2018,

the defendant served the United States with a notice pursuanl to Federal Rule of Criminal

Procedure 12.2, indicating an intention to assert a defense of insanity. In light of this notice, the

United States   will shortly   make a motion to the Court requesting an order for the defendant to be

examined for an opinion as to whether or not he was insane at the time he committed the offenses

charged in the pending criminal complaint.

3)       The parties are currently engaged in plea negotiations, exchanging information about the

facts of the case, including the defendant's personal and mental health history, and discussing

possible resolutions of this litigation. Due to the naturo of the defense 1o be assened by the

defendant (insanity), additional time is needed for the parties       to continue these   discussions.

Altematively, ifplea negotiations fail, additional time will be needed to present evidence to a grand

jury.

4)      The parties stipulate and agree that the ends ofjustice served by granting this extension

outweigh the best interest of the public and the defendant in a speedy indictment and trial because

the psychiatric or psychological examination     ofthe defendant will need to be conducted and it is

possible thatthe examination results may not be available within thirty (30) days. Further, because

the defendant has served notice that he may assert a defense of insanity, additional time      will   be

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necessary for both parties to consult      with expert witnesses on this issue, including the review of

records or documents related to the defendant's current and former mental health history,          if   any.

The fact that it is not currently known whether the defendant is mentally competent to proceed,

and the fact that the defendant has served notice that he may assert a defense of insanity, suggest

that the facts upon which the grandjury must base a determination are unusual and/or complex, so

that   it   is unreasonable to expeot the return and   filing ofan indictment within the period speoified

in   section     3l6l(b), taking into account the exercise of due diligence (see 18 U.S.C.                $


3   r6loxTxB)(iiD).

5)          The parties stipulat€ and agree that the time period from the date ofthis stipulation, to and

including the date      ofthe Order, shall   be excludable under the Speedy Trial Act pursuant      to l8

U.S.c. $$ 3l6l(hX7XA) and (hXTXBXiii).

            The undersigned attorneys affirm under penalty of perjury the accuracy of the facts set

forth above and apply for and consent to the proposed order set forth below.




 Dated: April 4,2018                                                     JAQUITH-/
                                                           United
                                                                  ,!

                                              By:                      /L/
                                                           Richard R. Southwick
                                                                                              tw
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                                               ORDT]R


A.       The Court adopts the stipulated facts set out above as findings and hereby incorporates

them into this Order;

          l.     The Court has considered its obligation under 18 U.S.C. $ 3161(hX7)(A) to

determine whether an extension of time within which the government must file an information or

indictment serves the ends ofjustice in a manner that outweighs both the public interest and the

defendant's rights. The Court finds that, pursuant to t8 U.S.C. $ 3l6l(hX7XA), the ends ofjustice

served by granting the requested continuance outweigh the best interest       of the public and the

defendant in a speedy indictment and trial because the facts of the case are so unusual or complex

that it is unreasonable to expect adequate preparation for the return and filing of an indictment

within the period specified in section 3161(b), taking into account the exercise ofdue diligence.

         BASED ON THE STIPULATED FACTS AND THE COURT'S RELATED FINDINGS,

IT IS HEREBY ORDERED that the time within which an indictment must bo filed               under the

provisions of Title 18, Unired States Code, Section   3l6l(b),   be enlarged to and including ninety

(90) days from the date ofthis order, and that time be excluded pursuant to Title 18, United States

Code, Section   3l6l(hX7XA), from the computation of the time within which an indictment must

be   filed under the provisions ofTitle 18, united states code, Section 3161(b), because the ends of

justice served by granting this continuance outweigh the best intelest of the public and the

defendant in a speedy trial for the reasons stipulated above'

IT IS SO ORDERED,
                          5th       day of April, 2018'
Dated and entered this

                         -=-                               Hon. Judge Therese WileY-Dancks
                                                           United States District Judge



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